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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE MIDDLE DISTRICT OF FLORIDA
                                        TAMPA DIVISION

ALLEN RIGGENS,


          Plaintiff,

                                                        Case Number 8:16-cv-01648-MSS-AEP



v.


CREDIT PROTECTION ASSOCIATION, LP.,

          Defendant.

___________________________/



                               PLAINTIFF’S NOTICE OF SETTLEMENT



        PLEASE TAKE NOTICE that, Defendant and Plaintiff have reached a resolution of this matter
and each party will bear their own attorney fees and costs. The parties ask that the Court retain
jurisdiction of this matter for 60 days for settlement/enforcement related matters only. At the conclusion
of the 60 days, if neither party brings any further matter before the Court, the parties request that the
matter be closed and that the case be dismissed with PREJUDICE.

DATED: December 6, 2016.

                                                                                __/s/W John Gadd______
                                                                                            W. John Gadd
                                                                                   FL Bar Number 463061
                                                                                      Attorney for Plaintiff


                                       CERTIFICATE OF SERVICE
          I HEREBY CERTIFY that a true and correct copy of the foregoing has been filed via CM/ECF,
     which will provide electronic notification to counsel for Defendant, on this 6th day of January, 2016.

                                                                                         s/W. John Gadd
                                                                                           W. John Gadd
                                                                                   FL Bar Number 463061
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